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     Hillsboro, OR 97124
 4   Phone: 503-336-3749
     Fax: 503-482-7418
 5
     Attorney for Defendant JOHN DOE subscriber assigned
 6
     IP address 75.80.13.105,
 7

 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
     STRIKE 3 HOLDINGS, LLC,                        )   Case No.: 17-cv-2315-MMA-AGS
12   Plaintiff,                                     )
                                                    )   NOTICE OF MOTION AND MOTION FOR
13   vs.                                            )   A PROTECTIVE ORDER
                                                    )
14   JOHN DOE subscriber assigned                   )   ORAL ARGUMENT REQUESTED
     IP address 75.80.13.105,                       )
15
     Defendant                                      )   Hon. Andrew G. Schopler
16
                                                    )   Courtroom: 5th Floor (Schwartz)
                                                    )   Hearing Date: 2/27/2018
17                                                  )   Hearing Time: 4pm
                                                    )
18
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEY’S OF RECORD:
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            Please take notice that Defendant JOHN DOE subscriber assigned IP address
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     75.80.13.105 will hereby moves that this Court dismiss this complaint and/or issue a protective
21   order to prevent the identity of JOHN DOE subscriber assigned IP address 75.80.13.105 from
22   being revealed on the Court Docket rather to continue as a “John Doe”.

23          This motion is based on John Doe’s rational expectation that his or her name not be
     connected with these salacious works and to avoid any settlement leverage that the Plaintiff may
24
     wish to extract by threatening to “reveal” his name.
25
            The motion will be heard on January 7, 2013 in front of the Honorable Andrew G.
26
     Schopler , 5th Floor (Schwartz) Suite 516, 221 West Broadway San Diego, CA 92101(619) 557-


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 1   6480 at 4pm. The requested relief will be based on this notion, the argument presented in the
 2   attached Memorandum, oral argument, and other pleadings filed with this Court.

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                                                       Respectfully Submitted,
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 5

 6          Dated: January 18, 2018                    Signed:
                                                              J. Curtis Edmondson
 7                                                            Attorney for Defendant
                                                              JOHN DOE subscriber assigned
 8                                                            IP address 75.80.13.105
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     NOTICE OF MOTION FOR A PROTECTIVE ORDER
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